              Case 12-00064          Doc 19    Filed 07/25/12      Entered 07/25/12 16:57:57       Desc      Page 1
                                                                  of 4

                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

In re:     Long, Anna M                                       §               Case No. 12 B 00064
                                                              §
           Debtor                                             §
                                                              §



            CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

         Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account of the
         administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

                    1) The case was filed on 01/03/2012.


                    2) The plan was confirmed on (NA).


                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329
         on (NA).

                   4) The trustee filed action to remedy default by the debtor in performance under the
         plan on (NA).

                    5) The case was dismissed on 03/12/2012.


                    6)   Number of months from filing or conversion to last payment: 0.


                    7)   Number of months case was pending: 6.


                    8) Total value of assets abandoned by court order: (NA).


                    9) Total value of assets exempted: $0.00.


                    10) Amount of unsecured claims discharged without full payment: $0.


                    11) All checks distributed by the trustee relating to this case have cleared the bank.

UST Form 101-13-FR-S (09/01/2009)
               Case 12-00064        Doc 19   Filed 07/25/12    Entered 07/25/12 16:57:57   Desc    Page 2
                                                              of 4


    Receipts:
                Total paid by or on behalf of the debtor                     $0
                Less amount refunded to debtor                               $0

    NET RECEIPTS:                                                                                     $0



    Expenses of Administration:
                Attorney's Fees Paid Through the Plan                        $0
                Court Costs                                                  $0
                Trustee Expenses & Compensation                              $0
                Other                                                        $0

    TOTAL EXPENSES OF ADMINISTRATION:                                                                 $0

    Attorney fees paid and disclosed by debtor:               $0



    Scheduled Creditors:
    Creditor                                       Claim        Claim       Claim      Principal      Int.
    Name                            Class        Scheduled     Asserted    Allowed       Paid         Paid




UST Form 101-13-FR-S (09/01/2009)
             Case 12-00064          Doc 19   Filed 07/25/12    Entered 07/25/12 16:57:57        Desc    Page 3
                                                              of 4


    Summary of Disbursements to Creditors:
                                                                 Claim              Principal          Interest
                                                                Allowed               Paid               Paid
    Secured Payments:
           Mortgage Ongoing                                               $0               $0                     $0
           Mortgage Arrearage                                             $0               $0                     $0
           Debt Secured by Vehicle                                 $911.54                 $0                     $0
           All Other Secured                                              $0               $0                     $0
    TOTAL SECURED:                                                 $911.54                 $0                     $0

    Priority Unsecured Payments:
           Domestic Support Arrearage                                     $0               $0                     $0
           Domestic Support Ongoing                                       $0               $0                     $0
           All Other Priority                                             $0               $0                     $0
    TOTAL PRIORITY:                                                       $0               $0                     $0

    GENERAL UNSECURED PAYMENTS:                                           $0               $0                     $0



    Disbursements:
                Expenses of Administration                                     $0
                Disbursements to Creditors                                     $0

    TOTAL DISBURSEMENTS:                                                                                     $0




UST Form 101-13-FR-S (09/01/2009)
             Case 12-00064          Doc 19   Filed 07/25/12    Entered 07/25/12 16:57:57     Desc     Page 4
                                                              of 4

                12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
      estate has been fully administered, the foregoing summary is true and complete, and all administrative
      matters for which the trustee is responsible have been completed. The trustee requests a final decree
      be entered that discharges the trustee and grants such other relief as may be just and proper.



      Date: July 25, 2012                     By: /s/ MARILYN O. MARSHALL
                                                                    Trustee


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
       Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
